 
 
  
   

     

THE DOC

60-SRC-CLW Document 79 Filed 06/07/01 Page 1 of 1 PagelD: 107 (
MET e A

@ r

 

 

JUN #200
oo UNITED STATES DISTRICT COURT
WILLIAM T. WALSH, ELEAK FOR THE DISTRICT OF NEW JERSEY
oy. 7 eS) Bey

(Osputy Clerk)

 

   
   

Zul WN -T AT: 53
PHILLIP ENGERS, et al., : CIVIL ACTION NO. 98-3660) °°) 770%
Plaintiffs, HON. NICHOLAS H. POLITAN .”
—
Vv. : ORDER , FILED
AT&T CORP., et al. : ‘ oe,
t f JUN é ote
Defendants. : AT 83:39
WILLIALT Hite ed AE
OAT. WAT ote
Cleny LSH A

 

THIS MATTER having come before the Court on the motion
of the named plaintiffs, Philip Cc. Engers, Warren J McFall,
Donald G. Noerr, and Gerald Smit to certify this matter as a
Class action; and the Court having considered the moving papers
of the parties; and the Court having heard oral argument on
January 23, 2001; and for the reasons set forth in the
accompanying Letter Opinion; and for good cause shown,

IT IS on this hit day of June, 2001,

ORDERED that the Ninth Claim for Relief in the
plaintiffs’ Second Amended Class Action Complaint be and hereby
is DISMISSED; and it is further

ORDERED that the plaintiffs shall submit, within thirty
(30) days of the date of this Order, evidence which would tend to

counter the defendants’ contention that none of the named
